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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________
ROBERT SELEVAN, ANNE RUBIN,
DAVID TALARICO and
SAMUEL TAUB,

                        Plaintiffs,                     1:06-cv-291
                                                        (GLS/DRH)
                  v.

NEW YORK THRUWAY AUTHORITY
and JOHN L. BUONO,

                  Defendants.
_________________________________________
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Gary L. Sharpe
District Court Judge

                     MEMORANDUM-DECISION AND ORDER

                                        I. Introduction

       Plaintiffs Robert Selevan, Anne Rubin, David Talarico and Samuel

Taub1 commenced this action against defendants New York Thruway

Authority (NYTA) and John L. Buono, in his official capacity as Chief

Executive Officer and Chairman of the NYTA, asserting claims pursuant to

42 U.S.C. § 1983 for violations of the Commerce Clause, the Privileges



        1
             The Clerk is directed to correct the docket to reflect that Talarico and Taub are
 plaintiffs, not defendants.

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and Immunities and Equal Protection clauses of the Fourteenth

Amendment, and Article I of the New York State Constitution. (Am.

Compl., Dkt. No. 45.) Pending are defendants’ motion for summary

judgment and plaintiffs’ motions to certify a class and to appoint class

counsel. (See Dkt. Nos. 48, 49, 73.) For the reasons that follow,

defendants’ motion is granted, and plaintiffs’ motions are denied.

                                    II. Background2

A.    Factual History

      Grand Island, New York is located in the Niagara River between the

United States and Canada. (Defs.’ Statement of Material Facts (“SMF”) ¶

17, Dkt. No. 48, Attach. 4.) With the exception of public transportation or

boat, the only means of entering or leaving Grand Island is via the Grand

Island Bridge (GIB). (Id. ¶ 21.) The GIB is actually comprised of two

independent bridges; the northern and southern spans connect Grand

Island to Niagara Falls and Tonawanda, New York, respectively. (Id. ¶ 18.)

Neither span comprises an actual border crossing between the United

States and Canada, and use of the GIB is not the only method by which

localities to the north and south of Grand Island may access one another.

      2
          The facts are undisputed unless otherwise noted.

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(Id. ¶¶ 19-20.)

       The GIB is maintained and operated by the NYTA, a public

corporation, which sets the bridge’s tolling rates. (Id. ¶ 5.) In July 1980,

the NYTA implemented a discounted tolling rate for residents of Grand

Island. (Id. ¶ 23.) Individuals who prove that their vehicle is held in the

name of a Grand Island resident, and not a “business entity, non-profit,

religious, charitable or educational entity,” are entitled to a discounted rate

of 9 cents per trip (resident rate), as opposed to the standard fare of $1.00

per trip (passenger rate). (Id. ¶¶ 25, 30.) The NYTA also offers a

discounted fee of 28 cents per trip for non-resident commuters as part of a

20-trip monthly plan (commuter rate).3 (Id. ¶ 30.)

       Plaintiffs Robert Selevan and Anne Rubin, both non-residents of

Grand Island, paid the passenger rate of $1.00 to traverse the GIB at an

unspecified date after March 6, 2000 during a trip through New York and

New Jersey. (Am. Compl. ¶¶ 5-6, Dkt. No. 45.) Plaintiffs David Talarico

and Samuel Taub, also non-residents of Grand Island, regularly crossed

the GIB during the same period, but paid the preferential commuter rate.

        3
             The passenger and commuter rates have increased slightly during the period relevant
 to this litigation. (Id. ¶ 30.) The parties dispute the exact dates of these increases, but such
 disagreement is immaterial to the court’s analysis. It is undisputed, however, that the resident
 rate has remained unchanged at 9 cents per trip during the relevant period.

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(Id. ¶¶ 7-8.)

B.    Procedural History

      On May 4, 2006, defendants moved to dismiss this action on multiple

grounds, after which plaintiffs Selevan and Rubin filed an Amended

Complaint. (Dkt. Nos. 6, 20.) In a January 18, 2007 memorandum-

decision and order, this court granted defendants’ renewed motion and

dismissed Selevan and Rubin’s Amended Complaint in its entirety. (Dkt.

No. 26.) On October 15, 2009, the Second Circuit affirmed this court’s

dismissal of Rubin’s claim under the Privilege and Immunities Clause of

Article IV, vacated the remainder of the January 18 decision and order, and

remanded the case for further proceedings. Selevan v. New York Thruway

Auth., 584 F.3d 82 (2d Cir. 2009).

      On April 29, 2010, Selevan and Rubin filed a permissible second

Amended Complaint, adding plaintiffs Talarico and Taub. (Dkt. No. 45.)

Both plaintiffs and defendants filed motions on February 1, 2011; plaintiffs

sought to certify the class while defendants brought the instant motion for

summary judgment. (Dkt. Nos. 48, 49.)

                          III. Standard of Review

      Summary judgment is appropriate “if the movant shows that there is

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no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247 (1986); Roe v. City of Waterbury,

542 F.3d 31, 35 (2d Cir. 2008). When evaluating the material facts, the

court “construes all evidence in the light most favorable to the non-moving

party, drawing all inferences and resolving all ambiguities in [its] favor.”

Amore v. Novarro, 624 F.3d 522, 529 (2d Cir. 2010). Thus, the movant

must demonstrate the absence of genuine issues of material fact, Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986); Thomas v. Roach, 165 F.3d

137, 142 (2d Cir. 1999), a burden it can meet “if [it] can point to an absence

of evidence to support an essential element of the nonmoving party’s

claim,” Goenaga v. March of Dimes Birth Defects Found., 51 F.3d 14, 18

(2d Cir. 1995).

      If the movant satisfies its burden, the nonmoving party must offer

specific evidence showing that a genuine issue of material fact warrants a

trial. See Celotex, 477 U.S. at 324. “A ‘genuine’ dispute over a material

fact only arises if the evidence would allow a reasonable jury to return a

verdict for the nonmoving party.” Dister v. Cont’l Group, Inc., 859 F.2d

1108, 1114 (2d Cir. 1988) (citation omitted). Moreover, material disputes

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must be based on specific facts as reflected in the adverse party’s

response, by affidavits or as otherwise authorized by Rule 56, see St.

Pierre v. Dyer, 208 F.3d 394, 404 (2d Cir. 2000), and affidavits must be

based on personal knowledge, see Harriscom Svenska, AB v. Harris Corp.,

3 F.3d 576, 581 (2d Cir. 1993). The bald assertion of some alleged factual

dispute will not defeat a properly supported motion. See Rexnord

Holdings, Inc. v. Bidermann, 21 F.3d 522, 525 (2d Cir. 1994) (citation

omitted). “Conclusory allegations, conjecture, and speculation . . . are

insufficient to create a genuine issue of fact.” Kerzer v. Kingly Mfg., 156

F.3d 396, 400 (2d Cir. 1998). Naturally, reasonable inferences may defeat

a summary judgment motion, but only when they are supported by

affirmative facts and relevant, admissible evidence. See Fed. R. Civ. P.

56(c)(4); Spinelli v. City of New York, 579 F.3d 160, 166-67 (2d Cir. 2009).

“Only disputes over facts that might affect the outcome of the suit under the

governing law will properly preclude the entry of summary judgment.”

Anderson, 477 U.S. at 248.

                              IV. Discussion

A.    Dormant Commerce Clause

      NYTA and Buono first seek summary judgment as to plaintiffs’ claim

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that the GIB toll structure violates the Commerce Clause. (Dkt. No. 48,

Attach. 3 at 4.) The Commerce Clause provides Congress with the power

to “regulate Commerce with foreign Nations, and among the several

States.” U.S. Const. art. I, § 8, cl. 3. This allocation of power was

“designed in part to prevent trade barriers that had undermined efforts of

the fledgling States to form a cohesive whole following their victory in the

Revolution.” Selevan v. N.Y. Thruway Auth., 584 F.3d 82, 90 (2d Cir.

2009) (quoting Hughes v. Alexandria Scrap Corp., 426 U.S. 794, 807

(1976)). From this federal grant of regulatory power flows the negative or

dormant implication that the Commerce Clause “prohibits state taxation or

regulation that discriminates against or unduly burdens interstate

commerce and thereby impedes free private trade in the national

marketplace.” Selevan, 584 F.3d at 90 (quoting Gen. Motors Corp. v.

Tracy, 519 U.S. 278, 287 (1997)).

      1.    Market Participant Doctrine

      NYTA and Buono argue as a threshold matter that the court need not

undertake a Commerce Clause analysis because the GIB toll structure is

exempt from constitutional scrutiny under the “market participant” doctrine.

(Dkt. No. 48, Attach. 3 at 4.) The court is unpersuaded by this argument.

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The market participant doctrine “differentiates between a State’s acting in

its distinctive governmental capacity, and a State’s acting in the more

general capacity of a market participant; only the former is subject to the

limitations of the negative Commerce Clause.” New Energy Co. of Ind. v.

Limbach, 486 U.S. 269, 277 (1988).

      NYTA and Buono base their market participant defense largely upon

the same grounds that the Second Circuit found unpersuasive at the

motion to dismiss stage. (Dkt. No. 48, Attach 3 at 5-8.) In rejecting

defendants’ arguments on the pleadings, the Second Circuit noted that the

Thruway’s enabling statute expressly states that the NYTA “shall be

regarded as performing a governmental function in carrying out its

corporate purpose and in exercising the powers granted by this title.”

Selevan, 584 F.3d at 93 (quoting N.Y. Pub. Auth. Law § 353). This

language comports with the Second Circuit’s “repeated observation that

building and maintaining roads is a core governmental function.” Id.

Additionally, unlike a private actor, the NYTA enjoys the ability to “(1) use

or possess any real property or rights in real property acquired by the state

. . . (2) avoid holdouts by resorting to eminent domain . . . and (3) issue

bonds that are fully and unconditionally guaranteed by the state in order to

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 raise capital to fund road construction and maintenance projects.” Id. at

 93-94 (citing N.Y. Pub. Auth. Law §§ 357, 358, 358-a, 366).

       Furthermore, NYTA and Buono again invoke Endsley v. City of

 Chicago, 230 F.3d 276 (7th Cir. 2000), for the proposition that “a state may

 act in a proprietary capacity as an entrant into the local highway

 transportation market.” (Dkt. No. 48, Attach. 3 at 5-6.) Like the Second

 Circuit, the court finds this reliance to be misplaced. In Endsley, the

 Seventh Circuit stated that Chicago was a market participant in its

 operation of a Skyway toll bridge. 230 F.3d at 284. The Second Circuit

 found this analysis to be non-binding dicta, and instead focused on the fact

 that plaintiffs in that case “essentially pleaded themselves out of court by

 noting in their complaint that, since its inception, Chicago . . . operated the

 bridge as a proprietary enterprise, and not in its governmental capacity.”

 Selevan, 584 F.3d at 94 (internal quotations and citations omitted); See

 also Cohen v. Rhode Island Tpk. & Bridge Auth., 75 F. Supp. 2d 439, 444

 (D. R.I. 2011) (declining to adopt the “Endsley court’s sweeping

 interpretation of the market participant doctrine.”).

       Because NYTA and Buono fail to adduce sufficient facts beyond

 those rejected by the Second Circuit, they are not shielded by the market

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 participant doctrine, and the GIB toll structure must undergo Commerce

 Clause scrutiny.

       2.    Dormant Commerce Clause Merits

       Having determined that defendants are not market participants, the

 proper inquiry is whether the GIB toll structure violates the Commerce

 Clause. Per the guidance of the Second Circuit, the lens through which to

 analyze this question is the three part test articulated in Northwest Airlines,

 Inc. v. Cnty. of Kent, 510 U.S. 355 (1994). Under the Northwest Airlines

 test, a fee is reasonable and constitutionally permissible if it “(1) is based

 on some fair approximation of use of the facilities, (2) is not excessive in

 relation to the benefits conferred, and (3) does not discriminate against

 interstate commerce.” Nw. Airlines, Inc., 510 U.S. at 716-17.

       During its review of the present dispute on the pleadings, the Second

 Circuit found that because the GIB toll structure clearly did not discriminate

 against interstate commerce, this court need only address the first two

 Northwest Airlines factors, unless plaintiffs were given an opportunity to

 amend their complaint. Selevan, 584 F.3d at 98 n.4. While plaintiffs filed a

 second Amended Complaint on April 26, 2010, they failed to allege new

 facts sufficient to disturb the Second Circuit’s conclusion that the GIB toll

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 structure does not favor any in-state economic interest to the detriment of

 an out-of-state competitor. Id. at 95; (Dkt. No. 44.) Accordingly, the GIB

 toll structure does not discriminate against interstate commerce.

       The inquiry turns, therefore, to whether “the fee supplies a benefit to

 users of [the GIB] that is at least roughly commensurate with the burden it

 imposes on them.” Selevan, 584 F.3d at 97. Specifically, the court must

 determine whether “the NYTA policy at issue reflects ‘rational distinctions

 among different classes of’ motorists using the Bridge” so that all classes of

 GIB toll-payers remit “some approximation of his or her fair share of the

 state’s cost for maintaining the [GIB],” and “whether the toll charged to non-

 residents of Grand Island is excessive in relation to the benefit it confers to

 them.” Id. at 98. (internal citation omitted) The ultimate determination is

 one of reasonableness; the correlation between fees paid and benefit

 conferred “need not be a perfect fit.” Id. Because of the close relation

 between these two prongs, they will be considered together. See

 Bridgeport & Port Jefferson Steamboat Co. v. Bridgeport Port Auth., 567

 F.3d 79, 86 (2d Cir. 2009); also Cohen v. R.I. Tpk. & Bridge Auth., 75 F.

 Supp.2d 439, 447 (D. R.I. 2011).

       The NYTA and Buono argue principally that the lower fees charged to

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 Grand Island residents reflect not only the benefit of traversing the GIB, but

 also encapsulate the burden borne by residents as a result of their inability

 to leave Grand Island by vehicle via a non-toll route. (Dkt. No. 76. at 4.)

 Plaintiffs argue that the toll structure is an unfair approximation of use

 because non-Grand Island residents pay significantly more per trip than do

 beneficiaries of the resident rate and, similarly, that abolishing the resident

 rate would increase NYTA revenues. (Dkt. No. 65 at 16-18.) Neither of

 these facts, however, are disputed.4

       Plaintiffs curiously raise no concern that beneficiaries of the

 commuter rate—which, like the resident rate, consistently comprises

 approximately twenty percent of annual GIB traffic (Dkt. No. 48, Attach.

 2)—also pay significantly less per trip than do passenger rate travelers. In

 fact, by adding plaintiffs Talarico and Taub, both of whom benefit from the

 commuter rate, plaintiffs implicitly admit that certain differentiations

 between classes of travelers are permissible and that considerations

 beyond the number of annual passages across the GIB may inform NYTA

 toll rates. While the preferential rate of 9 cents per trip may not be a

        4
            While the parties partake in hypothetical guesswork as to the exact amount of
 additional revenues that stand to be gained by abolishing the resident rate, such calculations
 are of little use in determining whether all current users of the GIB pay a fair approximation of
 their share of costs for maintaining the GIB.

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 precise quantification of the toll bridge-imposed isolation that confronts

 beneficiaries of the resident rate each time they desire to leave Grand

 Island, or the residuary effects of nearly 25 million non-resident travelers

 bisecting their island annually, it reflects a “rational distinction[] among

 different classes of” motorists. Selevan, 584 F.3d at 97.

       As evidence that the commuter and passenger rates exceed the

 benefits which they confer, Plaintiffs claim that the NYTA has been

 collecting excess revenues. (Dkt. No. 65 at 20.) Specifically, Plaintiffs

 point to the fact that the NYTA spent approximately $6.9 million in 2005 for

 maintenance, upkeep, repair and renovation of the Grand Island Bridges

 while collecting over $13 million in tolls the same year. (Id.) They further

 note that, in 2006, the NYTA spent approximately $10.6 million for the

 same purposes while collecting nearly $15 million in tolls. (Id.) Plaintiffs

 fail to mention, however, that between 2006 and 2011, the NYTA allocated

 over $62 million for nine construction projects on the GIB and related

 facilities. (Dkt. No. 66, Attach. H.) Plaintiffs also omit the fact that

 tolls—which serve as the only source of revenue for the Thruway

 system—are used to pay more than $50 million per year to support State

 Police Troop T, which patrols the Thruway exclusively. (Dkt. No. 66,

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 Attach. J.)

       The New York State Thruway Act grants the NYTA the power to:

               “fix and collect such fees . . . for the use of the Thruway
               system . . . with an adequate margin of safety, to produce
               sufficient revenue to meet the expense of maintenance and
               operation and to fulfill the terms of any agreements made
               with the holders of its notes or bonds.”

 N.Y. Pub. Auth. Law § 354(8). Under § 609 of the Authority’s General

 Revenue Bond Resolution, “the Authority has covenanted with

 Bondholders to fix, charge and collect such tolls, fees and charges for use

 of the system so that revenues shall at least equal net revenue

 requirements for each fiscal year.” (Defs.’ SMF ¶ 6, Dkt. No. 48, Attach. 4.)

 In light of the NYTA’s obligations to maintain and operate the New York

 Thruway system, as well as satisfy its Bondholders, it would be

 unreasonable to expect annual toll revenue to match precisely the amount

 required to ensure upkeep of the GIB. Plaintiffs have failed to provide

 evidence indicating that the NYTA has exceeded the “adequate margin of

 safety” to which it is entitled under N.Y. Pub. Auth. Law § 354(8).

 Accordingly, the 28 cents and $1.00 charged per trip under the commuter

 and passenger plans, respectively, are not excessive in relation to the

 benefits which they confer; namely access to a well maintained, trooper-

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 patrolled highway which either enables or expedites passengers’ travels.

       In sum, the NYTA toll structure is reasonable and constitutionally

 permissible because it “(1) is based on some fair approximation of use of

 the facilities, (2) is not excessive in relation to the benefits conferred, and

 (3) does not discriminate against interstate commerce.” Nw. Airlines, Inc.,

 510 U.S. at 716-17. Accordingly, defendants’ motion for summary

 judgment is granted as to plaintiffs’ dormant Commerce Clause claim.

 B.    Right to Travel

       NYTA and Buono next seek summary judgment as to plaintiffs’ claim

 that the GIB toll structure abridges their right to travel in violation of the

 Privileges and Immunities and Equal Protection clauses of the Fourteenth

 Amendment. (Dkt. No. 48, Attach. 3.)5 Individuals have a fundamental

 right to both inter and intra-state travel. Selevan, 584 F.3d at 100 (citing

 Williams v. Town of Greenburgh, 535 F.3d 71, 75 (2d Cir. 2008)). “A state

 law implicates the right to travel”—thereby triggering strict scrutiny—“when

 it actually deters such travel, when impeding travel is its primary objective,

 or when it uses any classification which serves to penalize the exercise of

        5
         NYTA and Buono do not specifically address the Privileges and Immunities and
 Commerce Clause claims in their motion for summary judgment, but their request that plaintiffs’
 second Amended Complaint be dismissed in its entirety implies a desire to seek summary
 judgment on these issues. (See Dkt. No. 48, Attach. 3 at 15.)

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 that right.” Atty. Gen. of New York v. Soto-Lopez, 476 U.S. 898, 903

 (1986) (internal citations omitted).

       Here, plaintiffs allege that by charging Grand Island residents a

 preferential toll rate as opposed to all other travelers, including out-of-state

 residents, the NYTA and Buono utilized a classification which penalizes the

 exercise of their right to travel. (Am. Compl. ¶¶ 39-40, Dkt. No. 45.) In

 analyzing this argument, the Second Circuit determined that the financial

 burden borne by plaintiffs as a result of the GIB toll structure was merely a

 minor restriction on their right to travel, not a penalty. Selevan, 584 F.3d at

 101. Despite the addition of plaintiffs Talarico and Taub, who traverse the

 GIB frequently, the court agrees.6

       The Second Circuit, however, left open the possibility that the GIB toll

 structure may still implicate the right to travel as contemplated by the

 Supreme Court in Evansville-Vanderburgh Airport Auth. Dist. v. Delta

 Airlines, 405 U.S. 707 (1972). Selevan, 584 F.3d at 101-102. In

 Evansville, the Court differentiated between taxes which penalize the right

 to travel while bearing no relation to a benefit conferred, and fees

        6
         Talarico and Taub pay the commuter plan rate of 28 cents per trip, which is based on
 a monthly minimum calculation of 20 trips. (Dkt. No. 66, Attach. C.) This means that if Talarico
 and Taub made the same 20 trips at the resident rate of 9 cents per trip, they would save
 $3.40 each month; an amount more akin to a minor restriction than a penalty.

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 “designed only to make the user of state-provided facilities pay a

 reasonable fee to help defray the costs of their construction and

 maintenance.” Evansville, 405 U.S. at 713-14. If the GIB toll structure is

 deemed to fall under the former class, it is constitutional only if it satisfies

 strict scrutiny; if it is found to be the latter, the right to travel is not

 implicated and the fee scheme need only satisfy the aforementioned

 Northwest Airlines test. Selevan, 584 F.3d at 101-102.

       Because the court already found that the GIB toll structure constitutes

 a reasonable user fee designed to defray the costs of maintenance and

 construction to the GIB, strict scrutiny is inappropriate here, and the

 permissibility of the GIB fee scheme hinges on the application of the

 Northwest Airlines test. For the reasons articulated above, the GIB toll

 structure does not run afoul of the Northwest Airlines standard, and

 therefore does not violate the Privileges and Immunities Clause of the

 Fourteenth Amendment or the Equal Protection Clause.7 Accordingly,

 NYTA and Buono’s motion for summary judgment is granted as to plaintiffs’

 right to travel claims.


        7
         Because the Equal Protection Clauses of both the federal and New York Constitutions
 are coextensive, Town of Southold v. Town of East Hampton, 477 F.3d 38, 53 n.3 (2d Cir.
 2007), summary judgment is also granted as to plaintiffs’ state claim.

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 C.    Plaintiffs’ Motions

       Plaintiffs moved for class certification and to appoint Brian L.

 Bromberg, Esq. as the attorney for that class. (Dkt. Nos. 49, 73.) Because

 plaintiffs’ claims are dismissed in their entirety, these motions are denied

 as moot.

                                V. Conclusion

       WHEREFORE, for the foregoing reasons, it is hereby

       ORDERED that defendants’ motion for summary judgment (Dkt. No.

 48) is GRANTED and that all claims against defendants are DISMISSED;

 and it is further

       ORDERED that the plaintiffs’ motion for class certification (Dkt. No.

 49) is DENIED; and it is further

       ORDERED that the plaintiffs’ motion to appoint class counsel (Dkt.

 No. 73) is DENIED; and it is further

       ORDERED that the Clerk close this case; and it is further

       ORDERED that the Clerk provide a copy of this Memorandum-

 Decision and Order to the parties.

 IT IS SO ORDERED.

 November 28, 2011

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 Albany, New York




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